                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )           Case No. 1:09-CR-181
 v.                                                )
                                                   )           Chief Judge Curtis L. Collier
 DONNA SHROPSHIRE                                  )
                                                   )


                                             ORDER

        The Court has received a Report and Recommendation (“R&R”) from United States

 Magistrate Judge William B. Mitchell Carter, recommending Defendant Donna Shropshire

 (“Defendant”) be found competent to understand the nature and consequences of the proceedings

 against her and able to assist in her defense (Court File No. 937). The R&R based its findings on

 the evidence presented at the December 15, 2010 hearing and on the opinion of Dr. Jorge Luis. The

 findings were that Defendant is not currently suffering from a mental disease or defect rendering her

 incompetent to the extent she is unable to understand the nature and consequences of the

 proceedings filed against her or assist properly in her own defense. The evidence regarding

 Defendant’s sanity at the time of the offense, although a question for the jury, show Defendant was

 likely able to appreciate the nature and quality or wrongfulness of her actions.

        Based upon this information, the Court ACCEPTS and ADOPTS Magistrate Judge Carter’s

 R&R (Court File No. 937), pursuant to 28 U.S.C. § 636(b)(1), and DETERMINES Defendant is

 competent to stand trial.



        SO ORDERED.




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       ENTER:

                                    /s/
                                    CURTIS L. COLLIER
                                    CHIEF UNITED STATES DISTRICT JUDGE




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